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                                                                                        Apr 30 2025



                           UNITED STATES DISTRICT COURT                            cf                 EDSS

                           EASTERN DISTRICT OF LOUISIANA




                           NOTICE OF FILING AFFIDAVIT




 PLEASE TAKE NOTICE that the undersigned Affiant, HIRAN RODRIGUEZ, hereby

 files and enters into the record the following document:



 - Noticed Affidavit of Material Fact Regarding Apple Inc.



 This affidavit is submitted as evidence pursuant to ERE 201 and incorporates by

 reference Exhibit A.




 Filed on this April 29, 2025.



 Respectfully submitted.

                                 2^


 HIRAN RODRIGUEZ


 820 Grove Ave


 Metairie, LA 70003-7024

 hiranrodriguez@outlook. com

 504-203-8459
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                       UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA




HIRAN RODRIGUEZ,                                 CIVIL ACTION NO. 2:25-cv-00I97

PLAINTIFF                                        SECTION A

                                                 JUDGE JAY C. ZAINEY

V.

                                                  DIVISION 2

META PLATFORMS, INC., ETAL.                      MAGISTRATE JUDGE

DEFENDANTS                                        DONNA PHILLIPS CURRAULT



                                                  JURY TRIAL REQUESTED




     NOTICED AFFIDAVIT OF MATERIAL FACT REGARDING APPLE INC.
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I. INTRODUCTION


I, HIRAN RODRIGUEZ, a living man domiciled in Metairie, Louisiana, declare by firsthand

knowledge and preserved records that the actions and omissions of Apple Inc., as detailed herein,

constitute material facts affecting Plaintiffs claims of ongoing privacy violations, obstruction of

evidence, and unauthorized device surveillance. This affidavit challenges the lawfulness of

Apple's data handling practices, the withholding of critical account history, and Apple's

unexplained refusal to produce fundamental device usage information.


II. JURISDICTION


Jurisdiction is vested under Article III of the United States Constitution, 28 U.S.C. § 1331, and


applicable federal statutes protecting privacy rights, access to evidence, and due proeess of law.

Affiant further invokes the supervisory powers of the Court to ensure the fair administration of

justice in accordance with Rule 1 of the Federal Rules of Civil Procedure.


III. EXHIBIT A - Device Data and Support Interactions

Affiant hereby includes, incorporates, and references as Exhibit A a compilation of documents

and screenshots reflecting:


- Data downloads from Apple's Privacy Portal;


- Communications with Apple Support regarding device account history;


- Error messages received when attempting to create a new Apple ID;


- Apple's failure to provide requested device-linked account creation logs.




                                                                                                     2
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Affiant demands production of the withheld account activity data, or lawful explanation of its

absence, as required by applicable federal privacy laws.

IV. FACTS AND CONCLUSIONS OF LAW


1. Plaintiff made formal requests to Apple Inc. through their official Data & Privacy portal for

full disclosure of all Apple IDs and activity tied to Plaintiffs device UID/serial number.


2. Plaintiff requested a direct supervisor review regarding missing account history and device

lockout issues.



3. Apple failed to produce the requested information, failed to return scheduled supervisory calls,

and materially withheld data necessary for Plaintiffs legal claims.


4. These facts establish a pattern of obstruction and prejudice to Plaintiffs rights to access

evidence under federal law.



5. No lawful justification has been provided by Apple for withholding Plaintiffs full device

account activity history.


V. CONSTITUTIONAL AUTHORITIES


This affidavit is secured under the following Constitutional protections:


- First Amendment: Right to petition for redress of grievances.


- Fourth Amendment: Protection against unreasonable searches and seizures, including digital

privacy.



- Ninth Amendment: Reservation of natural rights to the People.


- Tenth Amendment: Limitation of federal and state jurisdiction to delegated powers only.


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VI. STATUTES AT LARGE



This affidavit also stands upon:


- 14 Stat. 27 (Civil Rights Act of 1866);


- 42 Stat. 79 (Enforcement Act of 1871);


- 18 U.S.C. § 2701 et seq. (Stored Communications Act protections);


- 49 Stat. 620 (Public Utilities Holding Company Act of 1935, supporting public right to

evidentiary transparency).


VII. JUDICIAL NOTICE REQUEST

Affiant demands that the Court take Judicial Notice under ERE 201(b) and (d) of the following


uncontested procedural facts:


- That Apple Inc. maintains a public-facing Data & Privacy Portal for consumer data requests;


- That Plaintiff submitted formal requests through this portal;


- That Apple's policies represent that users may access deviee-linked account information upon

request.


Affiant does not seek Judicial Notice of disputed matters such as the specific contents of the

exhibits; those are authenticated independently by this sworn affidavit under penalty of perjury

and subject to evidentiary challenge if any.




                                                                                                   4
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VIII. CERTIFICATION / VERIFICATION


I, HIRAN RODRIGUEZ, hereby affirm under full liability and firsthand knowledge that all facts

stated herein are true, correct, and complete. This affidavit is made without prejudice and with

full reservation of all rights.




SO HELP ME GOD ON THIS DAY, April 29, 2025, AS IS HEREBY SO ATTESTED!




                                                                                                   5
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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA



              DECLARATION OF AUTHENTICITY OF EXHIBITS




 I, HIRAN RODRIGUEZ, hereby declare pursuant to 28 U.S.C. § 1746 and under penalty

 of perjury that the following is tme and correct:



 1.1 am the Plaintiff in the above-captioned case.

 2.1 have personal knowledge of the matters stated herein.

 3. The documents and screenshots attached as Exhibit A to my Noticed Affidavit of


 Material Fact Regarding Apple Inc. are true, correct, and complete copies of data

 obtained by me directly through Apple Inc.’s official Data & Privacy Portal and related

 support communications.

 4. These exhibits were captured and preserved by me personally, and have not been

 materially altered, manipulated, or modified in any way that would affect their

 evidentiary integrity.

 5. The exhibits accurately reflect the information provided (or withheld) by Apple Inc. in

 response to my lawful data requests.

 6. This Declaration is made to authenticate Exhibit A as business records and self


 authenticating digital evidence pursuant to Federal Rule of Evidence 902(14) and other

 applicable rules.
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 Executed on this 29th day of April, 2025.




 /s/ HIRAN RODRIGUEZ


 HIRAN RODRIGUEZ, SUIJURIS

 Pro Se Plaintiff

 820 Grove Avenue


 Metairie, Louisiana 70003

 (504) 203-8459

 hiranrodriguez@outlook. com
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                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA




                                        EXHIBIT A


                            Device Data and Support Interactions
                                        (Apple Inc.)



 Includes:


 - Data Privacy Downloads

 - Support Interaction Records

 - Account Creation Error Screenshots


 - Unproduced Device Activity Evidence
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                    SCREENSHOT EXHIBIT ■ 0001




                 11:28




                 Name and Birthday



                Birthday

                               Could Not Create
                                 Apple Account
                         This iPhone has been used to create
                         too many new Apple Accounts.
                       Contact Apple Support to request
                     another Apple Account to use with this
                                       iPhone.




                         Learn More                OK
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                    SCREENSHOT EXHIBIT - 0002




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                                    Apple
                                    $ Verified

                Hide Alerts



              Details

                Website
                www.apple..com

                Messages
                Usually responds within a minute

                Messages Hours
                Open 24 hours
                Every Day                         Open 24 hours


               Report Junk


                Leave this Conversation

               You Will not receive messages or business updates on
               active conversations with this business.
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                     SCREENSHOT EXHIBIT - 0003




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                       SCREENSHOT EXHIBIT - 0004


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                       SCREENSHOT EXHIBIT - 0005




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                    SCREENSHOT EXHIBIT - 0006




                  12:56


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               Got it. To fully address your issue
               the best next step is to connect
               you with our Senior Advisor over
               the phone. They have access to
               additional tools and resources
               beyond what we have here in
               chat, ensuring a more effective
               resolution. I highly recommend
               proceeding with this step for the
               specialized assistance you need.
               Ready to move forward?

                          I've already been on the phone
                          previously for over 40 minutes "
                          with no resolution. I am not
                          asking for troubleshooting'— this
                          is a formal legal demand under
                          the California Consurner Privacy
                          Act (CCPA) and the General Data
                          Protection Regulation (GDPR). '
                          I derhand the imrhediate
                          production of a list of all Apple ID
                          accounts that Apple's system
                          asserts were created ysinp^this
                          device, including the '
                          timestamps and account
                          identifiers. Apple is legally
                          obligated to provide this data
                          upon request.


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                    SCREENSHOT EXHIBIT - 0007




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               advisor. I am with you on this one,                         <
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                  ; senior advisor. May, I have your
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                                 SCREENSHOT EXHIBIT - 0011




        Data and Privacy                                                                                   signed in as Hira Roc



        Download your data
        30 apps and services
        6.21GB downloadable in 43 files
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                                   SCREENSHOT EXHIBIT - 0012




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                   ^ Apple Media Services Information                              1.53MB ©

                     Apple Account and device information                           42KB ©

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                     iCIoud Drive Part 5 of 5                                 953.43MB ©

                     iCIoud Mail                                                74.59MB ©

                     iCIoud Notes                                                  951KB ©

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                               SCREENSHOT EXHIBIT - 0013




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                         UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA




                             CERTIFICATE OF SERVICE




 I, HIRAN RODRIGUEZ, hereby certify under penalty of perjury that on this 29th day

 of April, 2025,1 electronically submitted the foregoing Noticed Affidavit of Material

 Fact Regarding Apple Inc., together with Exhibit A, to the Clerk of Court using the

 Electronic Document Submission System (EDSS) for the United States District Court,

 Eastern District of Louisiana.




 Pursuant to standard procedure, the filing will be processed and entered on the CM/ECF

 docket, which will automatically generate electronic notice to all registered counsel of

 record. In addition, a true and correct copy was served via electronic mail on the

 following attorneys of record:

 • barcuri@fralawifrm.com

 • lcarlisle@bakerdonelson.com

 • scefolia@bakerdonelson.com

 • colin.cisco@jeffparish.net

 • hailey. cummiskey@arlaw. com

 • philip.giorlando@bswllp.com

 • katherine@snw.law

 • ekesler@bakerdonelson.com
Case 2:25-cv-00197-JCZ-DPC           Document 183        Filed 04/30/25   Page 24 of 26




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 * vmatherne@courington-law.com

 • lmince@fishmanhaygood.com

 • suzy@snw. law

 * jnieset@phj law. com

 • lrodrigue@fralawifrm.com

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 • lrichard@irwinllc.com

 • scott@snw.law

 • qurquhart@irwinllc.com

 • roland.vandenweghe@arlaw.com




 Respectfully submitted, this 29th day of April, 2025.




 hi HIRAN RODRIGUEZ


 HIRAN RODRIGUEZ, SUIJURIS

 PRO SE PLAINTIFF


 820 Grove Avenue, Metairie, Louisiana 70003-7024

 (504)203-8459

 hiranrodriguez@outlook. com
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 All Rights Reserved - UCC 1-308

 Without Prejudice - Without Recourse

 Preserving all claims for judicial misconduct, procedural irregularity, and constitutional

 injury under 28 U.S.C. §§ 144, 455, and 351; and reserving all rights to appeal, object,

 and seek sanctions under Rule 11, Rule 55, Rule 60(b), and Article III.


 No joinder to any corporate, commercial, administrative, or inferior jurisdiction.

 No tacit agreement presumed; no consent granted where none is explicitly
 expressed.
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eFile-ProSe

From:
                              Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent:                        Wednesday, April 30, 2025 9:27 AM
To:                          eFile-ProSe
Subject:                      New EDSS Filing Submitted
Attachments:                  NOTICED AFFIDAVIT OF MATERIAL FACT REGARDING APPLE INC. 4.pdf




Greetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on Wednesday
April 30, 2025 - 09:26.

The information for this submission is:

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Filer's Phone Number: 5042038459

Filer's Case Number (If Known): 2:25-cv-00197-JCZ-DPC

Filer's Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: Notice of Filing Affidavit + Noticed Affidavit of Material Fact
Regarding Apple Inc. + Exhibit A




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